                Case 8:13-bk-06404-CPM               Doc 74      Filed 09/11/18       Page 1 of 1
[Doabtmar] [Order Abating Motion To Avoid Lien or Redeem]




                                         ORDERED.
Dated: September 11, 2018




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                    Case No.
                                                                          8:13−bk−06404−CPM
                                                                          Chapter 7
Jennifer Kaye Marlow



________Debtor*________/

                                ORDER ABATING MOTION TO AVOID LIEN

   THIS CASE came on for consideration, without hearing, of the Motion to Avoid Lien ("Motion") filed by
the Debtor, Doc. No. 71. After review, the Court determines that the Motion is deficient as follows:


         The Motion is not verified or accompanied with an affidavit. Local Rule 4003−2.

         The property described in the Motion is not listed on Schedule C or Amended Schedule C.

   Accordingly, it is ORDERED:

   Consideration of the Motion is abated until the deficiency is corrected.

The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
